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FILED PARTIALLY UNDER SEAL

Exhibit 37

July 17, 2024 Letter Regarding PGIC's
Assumption Of AEIC Claims
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July 17, 2024

Christopher G. Clark

Skadden, Arps, Slate, Meagher & Flom LLP
500 Boylston Street

Boston, MA 02116

Dear Chris:

I write in reference to our letter of June 12, 2024, and the ten letters that J osh
Weiner sent on May 28, 2024. Those letters purport to provide notice pursuant to Section
8.1 of the March 12, 2007 Stock Purchase Agreement of claims received by SPARTA
Insurance Co. (SPARTA”) that it asserts have been “made against a policy issued by
American Employers’ Insurance Co. (“AEIC’) prior to SPARTA’s acquisition of AEIC.”

For each claim Mr. Weiner asserts in the letters that “PGIC is responsible for the
handling and defense of this claim under the SPA and the Instrument of Transfer and
Assumption (‘T&A Agreement’) between PGIC and AEIC dated June 15, 2005.” The
letters ask that PGIC “immediately confirm that PGIC will assume control and defense of”
the claims identified in the letters.

The claims relate to 10 complaints filed between | _ Redacted
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Redacted ‘|! The notice purports to enclose “copies of the

AEIC policy or policies under which the claim is being made” and “the notice of
claim or other documentation received by SPARTA regarding what the claimed
expense is for and any correspondence with the claimant by or on behalf of SPARTA
to date, attached as Exhibit B.”

As you know SPARTA and PGIC (a/k/a as “Pennsylvania Insurance
Company” or “PIC”) are currently in litigation pending in the U.S. District Court for
the District of Massachusetts over SPARTA’s claim that PGIC is liable for AEIC
claims. See SPARTA Insurance Company v. Pennsylvania General Insurance
Company, No. 21-11205 (D. Mass.) (the “Sparta Litigation”). SPARTA seeks a
declaratory judgment in that litigation that PGIC is liable to SPARTA under the 2005
T&A Agreement and the 2007 SPA for claims related to AEIC policies issued prior
to SPARTA’s purchase of AEIC. In its answer, discovery responses, and prior
correspondence, PGIC has consistently explained why it is not liable for AEIC claims

! The claimants referred to in the letters are 1 Redacted

Redacted

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as a categorical matter.

Further, and as also shown in its Answer, discovery responses, and numerous
prior letters, PGIC also is not liable for any AEIC expenses incurred by SPARTA to
date because SPARTA has failed to comply with the SPA’s contractual requirements
for seeking reimbursement for individual claims. This failure separately forecloses
liability for claims made to date even apart from the parties’ overall dispute as to
PGIC’s liability for AEIC claims under the SPA.

The most relevant such requirement for present purposes is section 8.1 of the
SPA, which requires SPARTA to give “written notice by certified or registered mail
or overnight courier of any claim with respect to which Purchaser seeks
reimbursement.” Section 8.1 provides that the Seller then has ten business days to
notify the Purchaser of its decision to “assume the entire control of the defense,
compromise, or settlement” of the Claim. SPARTA has for years consistently failed
to send the notices required by section 8.1 as to claims for which it secks
reimbursement. Instead, it has repeatedly sent post hoc spreadsheets that purport to
reflect amounts paid for claims for which SPARTA never sent a compliant section
8.1 notice to PGIC asking it to assume responsibility for the claims.

While it is unclear why SPARTA failed to send the notices for so many years
or why it has decided to begin doing so after years of failing to do so, Mr. Weiner’s
letters of May 28, 2024, suggest that SPARTA has belatedly realized its error and
decided to begin providing compliant notices under section 8.1 for future claims.
PGIC has examined the notices and continues to maintain that it is not liable for AEIC
claims as a categorical matter for all of the reasons stated throughout the litigation.
At the same time, PGIC recognizes that PGIC’s liability will remain a matter of
dispute until the resolution of the Sparta Litigation and any appeals. Thus, with
respect to SPARTA’s May 28 notices and any notices of future claims that it sends,
PGIC is in the position of either (i) assuming the defense of claims for which it does
not believe it is liable or (ii) allowing SPARTA to defend, pay, and seek
reimbursement from PGIC for 100% of future claims with no input from PGIC as to
how the claims are handled.

This requires PGIC to balance countervailing concerns until the Sparta
Litigation is resolved. On the one hand, and for obvious reasons, PGIC has no desire
to take on the defense of claims for which it is not liable. On the other hand, PGIC
is concerned that SPARTA may not be adequately incentivized in the interim to
handle such claims in the most efficient manner. Further, and even assuming that
SPARTA and PGIC’s incentives are identical, PGIC may have different claims
adjustment standards than SPARTA. Thus, if PGIC were ever held responsible for
such claims, the exposure would be far higher than if PGIC handled the claims itself.

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Finally, it is possible that adjusting some claims could yield alternative routes to
resolution of the Sparta Litigation that have not been apparent to date.

Accordingly, and balancing these concerns, and as stated in our letter of June
12, 2024, now that SPARTA has indicated its intent to send purportedly compliant
section 8.1 notices that actually ask PGIC to assume the defense of individual claims,
PGIC is willing to consider assuming responsibility for the defense of certain claims
on a case-by-case basis based on its examination of such notices. Any decision to
assume the defense of a particular claim is without prejudice to and does not waive
any rights or defenses either that PGIC has asserted in the SPARTA Litigation or
generally as to any claim for which it does not assume the defense. Such defenses
include but are not limited to PGIC’s defenses of novation, waiver, estoppel,
untimeliness, breach of the implied covenant of good faith and fair dealing, failure to
apply with contractual conditions precedent, and lack of entitlement to declaratory
relief.

In our June 12, 2024 letter, PGIC requested that SPARTA identify any
pending deadlines in the claims in the AEIC claims identified in the May 2024
notices. You stated in your June 24, 2024 letter that SPARTA would forward our
request to AGRM and would “follow up with AGRM’s response.” To date, we have
not received any identification of those deadlines. The parties also agreed in
subsequent correspondence of June 24, 2024, and July 2, 2024, to suspend the
deadlines for responding to Mr. Weiner’s May 28, 2024, letters until today.

By this letter, and subject to the foregoing, our letter of June 12, 2024, and
reserving all rights and defenses as to the claims assumed or not assumed, including
all defenses raised in the SPARTA litigation, PIC agrees to assume the defense of the
claim of{ Redacted |

| Redacted | We

request that SPARTA forward copies of the files for each of these cases to Mr. Silver
with all available contact information on the TPA representative handling the claim
as well as defense counsel, including any correspondence with the TPA
representative and defense counsel. PIC declines to assume responsibility for the
other claims addressed in Mr. Weiner’s May 28 letters. We reiterate that any
decision to assume the defense of any individual claims is without prejudice to and
does not waive any right or defense, including all rights and defenses raised in the
SPARTA Litigation and any other right or defense as to any claim for which PGIC
does not assume the defense.

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Very sincerely yours,

CLL LY.

Samuel C. Kaplan
